              DISTRICT COURT OF APPEAL OF FLORIDA
                        SECOND DISTRICT

                                T.W., a child,

                                 Appellant,

                                      v.

                           STATE OF FLORIDA,

                                  Appellee.

                             No. 2D2023-0772



                              August 21, 2024

Appeal from the Circuit Court for Hillsborough County; Lawrence Lefler,
Judge.

Howard L. Dimmig, II, Public Defender, and Jeri Delgado, Assistant
Public Defender, Bartow, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Cynthia Richards,
Assistant Attorney General, Tampa, for Appellee.


PER CURIAM.

      Affirmed.

KELLY, ROTHSTEIN-YOUAKIM, and LABRIT, JJ., Concur.


Opinion subject to revision prior to official publication.
